  Case 3:08-cv-00092-WKW-SRW Document 1 Filed 02/08/08 Page 1 of 3




                      iN THE UNITED STATES DISTRICTCOURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                                EASTERN DIVISION
                                                      r fl

 SHAN LASHA GRIFFIN,	
                                                                                                         fs,/
                                                     CASE NO       3           C.V    1   z -   \AJ 1<
                Plaintiff,


EQUIFAX INFORMATION SERVICES LLC,
               Defendants.
                                  NOTICE OF REMOVAL

        Defendant Equifax Information Services LLC ("Equifax") files this Notice of
Removal of this action from the Circuit Court of Chambers County, Alabama, wherein it
is now pending as Case No. 12-CV-2008-900003.00, to the United States District Court
for the Middle District of Alabama, Eastern Division. This Notice of Removal is filed
pursuant to 28 U.S.C.    § 1441 and 1446. In support hereof, Equifax states as follows:
        1.	    An action was filed on January 7, 2008, in the Circuit Court of Chambers
County, Alabama, entitled Shan Lasha Gr fJIn v. Eq ufax Information Services LLC, Civil

Action No. 12-CV-2008-900003.00 (the "State Court Action").
       2.      Equifax was served with the Complaint on January 9, 2008.
       3.      This Notice is being filed with this Court within thirty (30) days after
Equifax was served with a copy of Plaintiffs summons and complaint. Accordingly, the
removal of this action is timely under 28 U.S.C. § 1446(b).
       4.      This Court has original jurisdiction over this case pursuant to 28 U.S.C. §
1331, in that this is a civil action arising under the Constitution, laws or treaties of the
United States; specifically 15 U.S.C.   § 1681 et seq., otherwise known as the Fair Credit
Reporting Act ("FCRA"), as follows:
       (a)	    Plaintiffs Complaint, on its face, alleges a violation of the FCRA. (

Plaintiffs Complaint).
 Case 3:08-cv-00092-WKW-SRW Document 1 Filed 02/08/08 Page 2 of 3




        (b)	    The FCRA, pursuant to 15 U.S.C. § 1681(p), provides that any action

alleging a violation of its provisions 'may be brought in any appropriate United States

district court without regard to the amount in controversy.

        5.      A copy of this notice of removal is being served on counsel for plaintiff

and is being filed with the clerk of the circuit Court of chambers County, Alabama in

accordance with 28 u.s.c. § 1446(d).

        6.      A true and correct copy of all process and pleadings is filed herewith, as

required by 28 U.S.C. § 1446(a). See Exhibit A. The necessary filing fee has been paid

with this notice.

        7.      Equifax reserves the right to amend or supplement this notice of removal

as may be appropriate and necessary.

        WHEREFORE, Equifax requests that the above-described action be removed to

this Court.

       This 7th day of February, 2008.

                                             Respectfully submitted,



                                             Kirkland E. Reid (REIDK945 1)
                                             Attorney for Equifax Information
                                                Services, LLC
OF COUNSEL:

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P0 Box 46
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 Case 3:08-cv-00092-WKW-SRW Document 1 Filed 02/08/08 Page 3 of 3




                           CERTIFICATE OF SERVICE

       I hereby certify that on the 7th day of February, 2008, the foregoing was served
by depositing same in the U.S. Mail, postpaid, properly addressed to the following:



David M. Cowan
Mann, Cowan & Potter, P.C.
2000-B SouthBridge Parkway, Suite 601
Birmingham, AL 35209

Mark H. Canton
The Law Center, 9 LaFayette Street North
LaFayette, Alabama 36862




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                                               Kirkland E. Reid




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